
940 N.E.2d 1154 (2011)
PEOPLE State of Illinois, respondent,
v.
Brenetta INGRAM, petitioner.
No. 110568.
Supreme Court of Illinois.
January 26, 2011.
Petition for leave to appeal denied.
In the exercise of this Court's supervisory authority, the Appellate Court, First District, is directed to vacate its judgment in People v. Ingram, 401 Ill.App.3d 382, 340 Ill.Dec. 608, 928 N.E.2d 1205 (2010). The appellate court is directed to reconsider its judgment in light of People v. Thompson, 238 Ill.2d 598, 345 Ill.Dec. 560, 939 N.E.2d 403 (2010), to determine if a different result is warranted.
